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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 6:21-cv-1336
      Plaintiff,
                                                      ORIGINAL COMPLAINT FOR
        v.                                            PATENT INFRINGEMENT

 TELIT COMMUNICATIONS PLC AND                         JURY TRIAL DEMANDED
 TELIT WIRELESS SOLUTIONS HONG
 KONG LIMITED,


      Defendants.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendants Telit Communications PLC and Telit Wireless Solutions Hong

Kong Limited (collectively, “Telit” or “Defendants”), alleging, based on its own knowledge as to

itself and its own actions and based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.       American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.       Telit Communications PLC is a company duly organized and existing under the

laws of the United Kingdom having a place of business at 78 Cannon Street, Cannon Place,

London, EC4N 6AF, United Kingdom.

       3.       Telit Wireless Solutions Hong Kong Limited is a company duly organized and

existing under the laws of Hong Kong having a place of business at Ltd Unit 8, 17/F, Greenfield

Tower Concordia Plaza, 1 Science Museum Road, Kowloon, Hong Kong.
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          4.       The Defendants identified in paragraphs 2-3 above (collectively, “Telit”) lead and

are part of one of the largest manufacturers of LTE and routers and devices, including the Telit

brand.

          5.       The Telit Defendants named above and their affiliates are part of the same

corporate structure and distribution chain for the making, importing, offering to sell, selling, and

using of the accused devices in the United States, including in the State of Texas generally and

this judicial district in particular.

          6.       The Telit Defendants named above and their affiliates share the same

management, common ownership, advertising platforms, facilities, distribution chains and

platforms, and accused product lines and products involving related technologies.

          7.       The Telit Defendants named above and their affiliates regularly contract with

customers regarding equipment or services that will be provided by their affiliates on their

behalf.

          8.       Thus, the Telit Defendants named above and their affiliates operate as a unitary

business venture and are jointly and severally liable for the acts of patent infringement alleged

herein.

                                    JURISDICTION AND VENUE

          9.       This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

          10.      This Court has personal jurisdiction over Telit pursuant to due process and/or the

Texas Long Arm Statute because, inter alia, (i) Telit has done and continues to do business in

Texas; and (ii) Telit has committed and continues to commit acts of patent infringement in the



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State of Texas, including making, using, offering to sell, and/or selling accused products in

Texas, and/or importing accused products into Texas, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing a least a portion of any other infringements alleged herein. In the alternative,

Telit Communications PLC and Telit Wireless Solutions Hong Kong Limited are subject to this

Court’s specific personal jurisdiction consistent with the principles of due process and the

Federal Long-Arm Statute of Fed. R. Civ. P. 4(k)(2) because: (1) they have substantial contacts

with the United States and committed and/or induced acts of patent infringement in the United

States; and (2) they are not subject to jurisdiction in any state’s courts of general jurisdiction.

       11.     Venue is proper as to Telit Communications PLC, which is organized under the

laws of the United Kingdom. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in

the United States may be sued in any judicial district, and the joinder of such a defendant shall be

disregarded in determining where the action may be brought with respect to other defendants.”

       12.     Venue is proper as to Telit Wireless Solutions Hong Kong Limited, which is

organized under the laws of Hong Kong. 28 U.S.C. § 1391(c)(3) provides that “a defendant not

resident in the United States may be sued in any judicial district, and the joinder of such a

defendant shall be disregarded in determining where the action may be brought with respect to

other defendants.”

                                          BACKGROUND

       13.     The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The

technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”).



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       14.     Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering

department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       15.     The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

The Mody patents (or the applications leading to them) have been cited during patent prosecution

hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.




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                                            COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       16.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       17.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       18.     Telit used products and/or systems including, for example, its Telit LM960A18,

Telit LE915Ax-P, and Telit SE150A4 families of products, that include LTE and/or 802.11n and

above wireless capabilities (“accused products”):




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(Source: https://contact.telit.com/mobilebroadband)




(Source: https://www.telit.com/m2m-iot-products/cellular-modules/standard-industrial-

grade/le915ax-p-family/)




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(Source: https://www.telit.com/se150a4/)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)

       19.     By doing so, Telit has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Telit’s infringement in this regard is ongoing.

       20.     Telit has infringed the ‘782 Patent by using the accused products and thereby

practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support the LTE standard and MIMO technology. According to the LTE

standards, the physical layer performs various functions which include modulation and

demodulation of physical channels as well as time and frequency synchronization.


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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150

       000p.pdf)




       (Source: https://in.mathworks.com/help/lte/ug/synchronization-signals-pss-and-sss.html)

       21.     The methods practiced by Telit’s use of the accused products include producing a

frame of data comprising a training symbol that includes a synchronization component that aids

in synchronization, a plurality of data symbols, and a plurality of cyclic prefixes. For example,

the physical layer performs the modulation and demodulation of the physical channels. Further,

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it uses OFDM in the downlink physical channel. Hence, there would be OFDM modulators

present in transmitter of the apparatus (mobile devices such as the accused products) for

modulating the data signals. The physical layer transmits downlink frames that include data

symbols, pilot symbols such as PSS, SSS, reference symbols and cyclic prefixes for each

symbol.




       (Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

       %20Physical%20Layer.pdf)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

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       (Source: Fundamentals of LTE, Ghosh et al.)

       22.     The methods practiced by Telit’s use of the accused products include transmitting

the frame over a channel. The data frames having cyclic prefixes and other OFDM symbols are

transmitted over a channel (e.g. PDCCH). Alternatively, on request from an accused product, an

LTE base station can act as a transmitter and transmit the frame over a channel.




       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/11.05.00_60/ts_136211v110

       500p.pdf)

       23.     The methods practiced by Telit’s use of the accused products include receiving

the transmitted frame. For example, the receiving antennas of the accused products can receive

the transmitted frames for further processing.




(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)

       24.    The methods practiced by Telit’s use of the accused products include

demodulating the received frame. For example, according to the LTE standards, the physical

layer performs various functions which include modulation and demodulation of physical

channels. Hence, the received frame will be demodulated for further processing.




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150

       000p.pdf)

       25.     The methods practiced by Telit’s use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, according to

the LTE standards, the physical layer performs various functions which include frequency and

time synchronization. The procedure of achieving this time and frequency synchronizations is

called ‘Cell Search’.




(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)

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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)




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(Source:

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(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136213/14.02.00_60/ts_136213v140200p.p

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       26.     The methods practiced by Telit’s use of the accused products include wherein the

synchronizing in the time domain comprises coarse time synchronizing and fine time



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synchronizing. For example, the physical layer performs time and frequency synchronization on

received frames using the cell search procedure. It uses primary and secondary synchronization

signals for time and frequency synchronization. The time synchronization includes coarse and

fine time synchronizations. The PSS and the SSS are and have been used for symbol timing and

radio frame timing respectively providing coarse and fine timing synchronization.




       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136213/14.02.00_60/ts_136213v140

200p.pdf)




(Source: Multi-Carrier and Spread Spectrum Systems: From OFDM and MC-CDMA to

LTE and WiMAX, Fazel et. Al (2008))




(Source: Multi-Carrier and Spread Spectrum Systems: From OFDM and MC-CDMA to

LTE and WiMAX, Fazel et. Al (2008))




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(Source: http://www.sharetechnote.com/html/BasicProcedure_LTE_TimeSync.html)




(Source: https://www.mathworks.com/company/newsletters/articles/understanding-and-

demodulating-lte-signals.html)




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(Source: 4G, LTE-Advanced Pro and The Road to 5G, Dahlman et al. (2016))




(Source: Mobile Terminal Receiver Design: LTE and LTE-Advanced, Das, Sajal Kumar

(2017))




(Source: Mobile Terminal Receiver Design: LTE and LTE-Advanced, Das, Sajal Kumar

(2017))




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       (Source: Mobile Terminal Receiver Design: LTE and LTE-Advanced, Das, Sajal Kumar

       (2017))

       27.     Telit has had actual knowledge of the ‘782 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Telit will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘782 Patent.

       28.     Telit has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘782 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       29.     American Patents has been damaged as a result of the infringing conduct by Telit

alleged above. Thus, Telit is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       30.     American Patents has neither made nor sold unmarked articles that practice the

‘782 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.




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                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       31.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       32.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       33.     Telit made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Telit LM960A18,

Telit LE915Ax-P, and Telit SE150A4 families of products, that include LTE and/or 802.11n and

above wireless capabilities (“accused products”):




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(Source: https://contact.telit.com/mobilebroadband)




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(Source: https://www.telit.com/m2m-iot-products/cellular-modules/standard-industrial-

grade/le915ax-p-family/)




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(Source: https://www.telit.com/se150a4/)




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content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)

       34.     By doing so, Telit has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Telit’s infringement in this regard is ongoing.

       35.     Telit has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter. For example, the accused products

support LTE standards with MIMO technology.




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)




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       (Source: https://sites.google.com/site/lteencyclopedia/lte-network-infrastructure-and-

       elements)

       36.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). Alternatively, on request from an accused

product, an LTE base station includes a transmitter in an OFDM system with an encoder

configured to process data to be transmitted within an OFDM system, the encoder further

configured to separate the data onto one or more transmit diversity branches (TDBs). For

example, according to the LTE standards, the physical layer performs FEC encoding on the

transmitting data. Hence, there is an encoder block at the transmitter end; additionally, transmit

diversity is performed at the transmitter end. The encoders output the data onto multiple transmit

chains (i.e. transmit diversity branches) for further processing.




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      (Source:

      https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

      000p.pdf)




      (Source:

      https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.06.00_60/ts_136211v080

      600p.pdf)

      37.    The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame


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including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, the physical layer performs the modulation and demodulation of the

physical channels. Further, it uses OFDM in the downlink physical channel. Hence, there would

be OFDM modulators for modulating the data signals. The physical layer transmits frames of

data on the downlink that include cyclic prefixes, training symbols and other data groups.




       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)




       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.06.00_60/ts_136211v080

       600p.pdf)




       (Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

       %20Physical%20Layer.pdf)

       38.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. Alternatively, on request from an

accused product, an LTE base station includes one or more transmitting antennas in
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communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The transmitting antennas in the base

station are connected to the OFDM modulators to get the OFDM frames for further transmission.




(Source: https://www.electronicdesign.com/communications/lte-requires-synchronization-and-

standards-support)




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(Source :

https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150000p.p

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(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/11.05.00_60/ts_136211v110500p.p

df)

       39.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training

structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

Alternatively, on request from an accused product, an LTE base station includes a transmitter in

an Orthogonal Frequency Division Multiplexing (OFDM) system, the transmitter comprising one

or more OFDM modulators configured to produce a frame including a plurality of data symbols,

a training structure, and cyclic prefixes inserted among the data symbols; wherein the training

structure of each frame includes a predetermined signal transmission matrix at a respective sub-

channel, each training structure adjusted to have a substantially constant amplitude in a time

domain, and the cyclic prefixes are further inserted within the training symbol, and wherein the

cyclic prefixes within the training symbol are longer than the cyclic prefixes among the data


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symbols, thereby countering an extended channel impulse response and improving

synchronization performance. For example, the physical layer performs precoding on both the

downlink by generating a precoding matrix (i.e. signal transmission matrix) which is transmitted

along with the data frames. Cyclic prefixes are added to the transmitting frames to help in frame

synchronization at the receiver end. The evidence shows that a cell-specific reference signal

acting as the training sequence are and have been used for channel estimation and are present in

the first symbol of the slots in the frame. Also, the evidence shows that the cyclic prefix in the

first symbol is longer than the cyclic prefix in the other data symbols. Thus, the cyclic prefix in

the training strucuture reference signals are longer than the cyclic prefixes in the other data

symbols. The primary synchronization signals and the cell specific reference signals are

generated using Zadoff-Chu sequences which have a constant amplitude.




(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100000p.p

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(Source: LTE and the Evolution to 4G Wireless: Design and Measurement Challenges, Wiley

(2013))




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        Case 6:21-cv-01336-ADA Document 1 Filed 12/21/21 Page 56 of 95




(Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

%20Physical%20Layer.pdf)




(Source: 3G Evolution: HSPA and LTE for Mobile Broadband, Dahlman, et al. (2010))




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(Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

%20Physical%20Layer.pdf)




(Source: Mobile Terminal Receiver Design: LTE and LTE-Advanced, Das, Sajal Kumar (2017))




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(Source: Mobile Terminal Receiver Design: LTE and LTE-Advanced, Das, Sajal Kumar (2017))




(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.06.00_60/ts_136211v080600p.p

df)




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(Source: http://www.rfwireless-world.com/Terminology/Zadoff-chu-sequence-LTE.html)

       40.     Telit has had actual knowledge of the ‘304 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Telit will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘304 Patent.

       41.     Telit has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘304 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       42.     American Patents has been damaged as a result of the infringing conduct by Telit

alleged above. Thus, Telit is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       43.     American Patents has neither made nor sold unmarked articles that practice the

‘304 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.




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                                           COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       44.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       45.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.

       46.     Telit made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Telit LM960A18,

Telit LE915Ax-P, and Telit SE150A4 families of products, that include LTE and/or 802.11n and

above wireless capabilities (“accused products”):




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(Source: https://contact.telit.com/mobilebroadband)




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(Source: https://www.telit.com/m2m-iot-products/cellular-modules/standard-industrial-

grade/le915ax-p-family/)




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(Source: https://www.telit.com/se150a4/)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)

       47.     By doing so, Telit has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Telit’s infringement in this regard is ongoing.

       48.     Telit has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system. The accused product is a receiver in an apparatus for

synchronizing a communication system. An LTE compliant base station that is communicating

with an accused product can be part of the apparatus, acting as a transmitter. For example,

according to the LTE standards, the physical layer performs various functions which include


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modulation and demodulation of physical channels, as well as time and frequency

synchronization.




(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)




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(Source: https://www.electronicdesign.com/communications/lte-requires-

synchronization-and-standards-support)




(Source: https://sites.google.com/site/lteencyclopedia/lte-network-infrastructure-and-

elements)




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(Source:

https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150

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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)

       49.      The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

inserted symbol, a plurality of data symbols, and cyclic prefixes. Alternatively, on being

requested by an accused product, an LTE base station acts as a transmitter and includes a number

(Q) of Orthogonal Frequency Division Multiplexing (OFDM) modulators, each OFDM

modulator producing a frame having at least one inserted symbol, a plurality of data symbols,

and cyclic prefixes. The LTE base station eNodeB acts as the transmitter for the OFDM frames.

The physical layer performs the modulation and demodulation of the physical channels. Further,

it uses OFDM in the downlink physical channel. Hence, there would be OFDM modulators for

modulating the data signals at the base station. The physical layer transmits frames of data on the

downlink, that includes data symbols, synchronization symbols such as PSS, SSS and cyclic

prefixes.




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(Source:

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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/08.06.00_60/ts_136211v080

       600p.pdf)




       (Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

       %20Physical%20Layer.pdf)

       50.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. Alternatively, on being requested by an accused product, the

LTE base station can act as a transmitter and include Q transmitting antennas, each transmitting

antenna connected to a respective OFDM modulator, the transmitting antennas configured to

transmit a respective frame over a channel. The LTE base station eNodeB acts as the transmitter

for the data frames. The data frames having cyclic prefixes and other OFDM symbols are
                                               76
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transmitted over a channel (PDCCH, etc.). The transmitting antennas of a base station would

transmit multiple OFDM frames over a channel. Thus, these transmitting antennas would be

connected to OFDM modulators to get the OFDM frames for further transmission.




(Source:

https://www.etsi.org/deliver/etsi_ts/136200_136299/136211/11.05.00_60/ts_136211v110500p.p

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df)

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       51.      The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products comply with LTE standards and uses

MIMO antenna system. These receiving antennas would receive the frames transmitted by the

base station.




(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/05/Telit_LM960A18_Datasheet-3.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2020/10/Telit_LE915Ax-P_Datasheet.pdf)




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(Source: https://y1cj3stn5fbwhv73k0ipk1eg-wpengine.netdna-ssl.com/wp-

content/uploads/2021/06/Telit_SE150A4_Datasheet.pdf)




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(Source: https://www.cablefree.net/wirelesstechnology/4glte/lte-us-category-class-definitions)

       52.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

frame in both time domain and frequency domain. For example, according to the LTE standards,

the physical layer performs various functions which include modulation and demodulation, as

well as frequency and time synchronization. Hence, there would be demodulator blocks and

synchronization circuits for performing these functions. The procedure of achieving time and

frequency synchronizations is called ‘Cell Search’.


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(Source:

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https://www.etsi.org/deliver/etsi_ts/136200_136299/136213/14.02.00_60/ts_136213v140

200p.pdf)




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136300_136399/136302/15.00.00_60/ts_136302v150

       000p.pdf)

       53.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the

first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

LTE devices generally include RF Front-end Modules. After the data is transmitted by the base

station, the data is received by a receiving antenna of the accused product for further processing.

To prevent the demodulator from demodulating the noise associated with the received signal, an

RF front end circuit is implemented to increase the SNR of demodulated signal. The RF front

end circuit generally consists of amplifiers, local oscillator, filters and mixers. The output from




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the mixer is generally fed to an analog-to-digital converter (ADC). This RF front end circuit

generally lies at the start of the demodulation process.




       (Source: VLSI for Wireless Communication)




       (Source: VLSI for Wireless Communication)




       (Source: http://www.sharetechnote.com/html/RF_Introduction.html)




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(Source: VLSI for Wireless Communication)




(Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

Compensation, Schenk (2008))




(Source: https://www.eetimes.com/document.asp?doc_id=1276331)

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       54.     The accused products include the synchronization circuit having one input

connected to an output of the ADC. According to the LTE standards, the physical layer performs

various functions which include frequency and time synchronization. The procedure of achieving

this time and frequency synchronizations is called ‘Cell Search’. Hence, there are

synchronization circuits for performing these functions. The synchronization circuit is connected

to an ADC.




       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136201/10.00.00_60/ts_136201v100

       000p.pdf)




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       (Source:

       https://www.etsi.org/deliver/etsi_ts/136200_136299/136213/14.02.00_60/ts_136213v140

       200p.pdf)

       55.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit is fed to a serial-to-parallel converter for

performing a DFT operation on its output.




       (Source: https://home.zhaw.ch/kunr/NTM1/literatur/LTE%20in%20a%20Nutshell%20-

       %20Physical%20Layer.pdf)

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       (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

       Compression, Schenk, Tim)




       (Source: http://ijettjournal.org/volume-12/number-2/IJETT-V12P214.pdf)

       56.     Telit has had actual knowledge of the ‘458 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Telit will have known and intended

(since receiving such notice) that its continued actions would infringe and actively induce and

contribute to the infringement of one or more claims of the ‘458 Patent.




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       57.     Telit has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘458 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       58.     American Patents has been damaged as a result of the infringing conduct by Telit

alleged above. Thus, Telit is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       59.     American Patents has neither made nor sold unmarked articles that practice the

‘458 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.

             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       60.     In addition to any specific products mentioned above, the accused products also

include at least Telit 310F5 Family, Telit WL865 Family, Telit xE866 Family, Telit

FN980/FN980m, Telit LM960A18, Telit LM960A9-P , Telit LM960A18, Telit LN920, Telit

LM940, Telit xE 910 Mini PCIe, Telit LE915Ax-P Family, Telit xE910 Family, and Telit

SE150A4.

       61.     Telit has also indirectly infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by inducing others to directly infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Telit has induced the end-users, Telit’s customers, to directly infringe (literally and/or

under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by using

the accused products.

       62.     Telit took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that



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infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

        63.      Such steps by Telit included, among other things, advising or directing customers

and end-users to use the accused products in an infringing manner; advertising and promoting the

use of the accused products in an infringing manner; and/or distributing instructions that guide

users to use the accused products in an infringing manner.

        64.      Telit has performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts constitute infringement.

        65.      Telit was and is aware that the normal and customary use of the accused products

by Telit’s customers would infringe the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent. Telit’s

inducement is ongoing.

        66.      Telit has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by importing, selling, offering to sell, and/or using the accused products.

        67.      Telit has at least a significant role in placing the accused products in the stream of

commerce in Texas and elsewhere in the United States.

        68.      Telit directs or controls the making of accused products and their shipment to the

United States, using established distribution channels, for sale in Texas and elsewhere within the

United States.

        69.      Telit directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.



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          70.   Telit’s established United States distribution channels include one or more United

States based affiliates (e.g., at least Telit Wireless Solutions, Inc.).

          71.   Telit directs or controls the sale of the accused products nationwide through its

own websites as well as through nationwide distributors and retailers such as Digi-Key and

Amazon, including for sale in Texas and elsewhere in the United States, and expects and intends

that the accused products will be so sold.

          72.   Telit took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for

example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458

Patent.

          73.   Such steps by Telit included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

          74.   Telit performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts would constitute infringement.

          75.   Telit performed such steps in order to profit from the eventual sale of the accused

products in the United States.

          76.   Telit’s inducement is ongoing.




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          77.   Telit has also indirectly infringed by contributing to the infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent. Telit has contributed to the direct infringement of

the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by the end-user of the accused products.

          78.   The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent, including, for example, Claim 30 of the ‘782 Patent,

Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

          79.   As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent.

          80.   The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

          81.   Telit’s contributory infringement is ongoing.

          82.   Furthermore, Telit has a policy or practice of not reviewing the patents of others

(including instructing its employees to not review the patents of others), and thus has been

willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

          83.   Telit’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Telit.

          84.   Telit has knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent.

          85.   Telit’s customers have infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent.



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       86.     Telit encouraged its customers’ infringement.

       87.     Telit’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, and the

‘458 Patent is, has been, and/or continues to be willful, intentional, deliberate, and/or in

conscious disregard of American Patents’ rights under the patents.

       88.     American Patents has been damaged as a result of the infringing conduct by Telit

alleged above. Thus, Telit is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       American Patents hereby requests a trial by jury on all issues so triable by right.

                                     PRAYER FOR RELIEF

       American Patents requests that the Court find in its favor and against Telit, and that the

Court grant American Patents the following relief:

       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, and the

‘458 Patent have been infringed, either literally and/or under the doctrine of equivalents, by Telit

and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining Telit and its officers, directors, agents, servants,

affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in concert

therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or, in the

alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782 Patent,

the ‘304 Patent, and the ‘458 Patent by such entities;

       c.      Judgment that Telit account for and pay to American Patents all damages to and

costs incurred by American Patents because of Telit’s infringing activities and other conduct



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complained of herein, including an award of all increased damages to which American Patents is

entitled under 35 U.S.C. § 284;

       d.       That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Telit’s infringing activities and other conduct complained of herein;

       e.       That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.       That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: December 21, 2021                     Respectfully submitted,

                                             /s/ Zachariah S. Harrington
                                             Matthew J. Antonelli
                                             Texas Bar No. 24068432
                                             matt@ahtlawfirm.com
                                             Zachariah S. Harrington
                                             Texas Bar No. 24057886
                                             zac@ahtlawfirm.com
                                             Larry D. Thompson, Jr.
                                             Texas Bar No. 24051428
                                             larry@ahtlawfirm.com
                                             Christopher Ryan Pinckney
                                             Texas Bar No. 24067819
                                             ryan@ahtlawfirm.com

                                             ANTONELLI, HARRINGTON
                                             & THOMPSON LLP
                                             4306 Yoakum Blvd., Ste. 450
                                             Houston, TX 77006
                                             (713) 581-3000

                                             Stafford Davis
                                             State Bar No. 24054605
                                             sdavis@stafforddavisfirm.com
                                             Catherine Bartles
                                             Texas Bar No. 24104849
                                             cbartles@stafforddavisfirm.com
                                             THE STAFFORD DAVIS FIRM
                                             815 South Broadway Avenue

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                            Tyler, Texas 75701
                            (903) 593-7000
                            (903) 705-7369 fax

                            Attorneys for American Patents LLC




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